               Case 6:18-bk-02139-KSJ          Doc 9     Filed 05/23/18     Page 1 of 5



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

 In Re:

 KENT WILLIAM RECHNER,                               Case No. 6:18-bk-02139-KSJ
 LESLIE CLARE RECHNER

       Debtor.                                       Chapter 7
 ____________________________/

                              MOTION FOR RELIEF FROM STAY
                              FILED BY MTGLQ INVESTORS, L.P.



                                 NOTICE OF OPPORTUNITY TO
                              OBJECT AND REQUEST FOR HEARING


          Pursuant to Local Rule 2002-4, the Court will consider the relief requested in
          this paper without further notice or hearing unless a party in interest files a
          response within 21 days from the date set forth on the attached proof of service,
          plus an additional three days for service if any party was served by U.S. Mail.

          If you object to the relief requested in this paper, you must file a response with
          the Clerk of the Court at George C. Young Federal Courthouse, 400 West
          Washington St., Suite 5100, Orlando, FL 32801, and serve a copy on the movant’s
          attorney David E Hicks, Esq., 1511 N. Westshore Blvd., Suite 400, Tampa,
          FL 33607, and any other appropriate persons within the time allowed. If you file and
          serve an objection within the time permitted, the Court will either schedule and notify
          you of a hearing, or consider the response and grant or deny the relief requested
          without a hearing.

          If you do not file a response within the time permitted, the Court will consider that you
          do not oppose the relief requested in the paper, will proceed to consider the paper
          without further notice or hearing, and may grant the relief requested.




          COMES NOW MTGLQ INVESTORS, L.P. (hereinafter "Creditor"), a secured creditor

herein, by and through its undersigned attorneys, and pursuant to 11 USC § 362 requests this
             Case 6:18-bk-02139-KSJ          Doc 9    Filed 05/23/18      Page 2 of 5



Court enter an Order lifting the automatic stay, and in support thereof would assert as follows:

       1.      On or April 13, 2018, the Debtors filed a Chapter 7 Petition in this Court.

       2.      For value received, the Debtors executed and delivered a Promissory Note &

Deed of Trust as evidence of an indebtedness to the Creditor. A copy of the loan documents are

attached hereto as Exhibit "A".

       3.      Said indebtedness is secured by property located in New Mexico more

particularly described in the parties' agreement as LOT NUMBERED

TWENTY-THREE-P-ONE (23P1), OF STINSON PARK SUBDIVISION, CITY OF

ALBUQUERQUE, BERNALILLO COUNTY, NEW MEXICO, AS THE SAME IS

SHOWN AND DESIGNATED ON THE PLAT THEREOF, FILED IN THE OFFICE OF

THE COUNTY CLERK OF BERNALILLO COUNTY, NEW MEXICO, ON OCTOBER

30, 2006, IN PLAT BOOK 2006C, PAGE 330, AS DOC. NO. 2006-I65285 (physical

address: 705 JACONITA PLACE, S.W., ALBUQUERQUE, NM 87121-5449).

       4.      The Creditor is the present owner and holder for value of the contract, and holds a

perfected lien on the collateral.

       5.      The aforedescribed Agreement is now in default because of the Debtors' failure to

make regular contract payments beginning October 1, 2015, and thereafter, as set forth in the

Declaration of Creditor attached hereto as Exhibit "B".

       6.      By reason of the defaults as set forth above, Creditor wishes to exercise its option

to declare the entire principal balance and the accrued interest under the Agreement due and

payable and take possession of the collateral, which action is stayed by the filing of the Debtors'

Petition herein.
                Case 6:18-bk-02139-KSJ         Doc 9    Filed 05/23/18      Page 3 of 5



          7.     Creditor has retained the undersigned attorneys to represent it in this action, and is

obligated to pay said attorneys a reasonable fee for their services.

          8.     Creditor has duly performed each and every act required to be performed by it

under the Agreement, and all conditions precedent to the filing and maintenance of this Motion

have been performed or have occurred.

          9.     In order to protect its security, Creditor may be required to advance and pay out

during the pendency of this action and any subsequent action to take possession of the collateral,

monies for Court costs and attorneys fees in pursuing such action. Any such sums advanced and

paid out will be due and owing Creditor pursuant to the terms of the Agreement. Reasonable

attorney fees and court filing costs not to exceed $1,000.00 will be incurred for representation in

this stay relief matter.

          10.    The Creditor believes that the 14 day stay period set forth in Bankruptcy Rule

4001(a)(3) is not applicable in this case, and requests the Court to waive the 14 day stay so that

the Creditor may immediately enforce and implement any Order granting the relief requested

herein.

          11.    The foregoing facts constitute cause for relief from the automatic stay pursuant to

11 U.S.C. 362(d).

          12.    The automatic stay provisions of § 362 should be lifted or modified in order to

permit Creditor to enforce its rights under the Agreement, including Creditor’s right to retake

possession of the subject collateral, for the following reasons:
                Case 6:18-bk-02139-KSJ        Doc 9     Filed 05/23/18     Page 4 of 5




                 a.     Creditor lacks adequate protection of its interest in the subject security

because the Debtors have ceased paying their obligations, and such default is causing a steady

increase in the indebtedness owed Creditor under the Agreement.

                 b.   The facts as stated above constitute unreasonable delay by the Debtors that

is prejudicial to Creditor, and constitutes a lack of adequate protection of Creditor’s interest in

the property.

       13.       The stay should be lifted to allow the movant to exercise its contractual, state and

common law remedies relating to the collateral, including authorization to give all notices and

take such action as necessary to protect its rights to file or amend its claim to assert any

deficiency remaining on the sale of the collateral.

       14.       Shellpoint Mortgage Serving (“SMS” ) services the underlying mortgage loan and

note for the Creditor for the property referenced in this Motion. In the event the automatic stay in

this case is modified, this case dismisses, and/or the Debtor obtains a discharge and a foreclosure

action is commenced on the mortgaged property, the foreclosure will be conducted in the name

of Creditor. Creditor, directly or through an agent, has possession of the Note. The Note is

either made payable to Creditor or has been duly endorsed. Creditor is the original mortgagee or

beneficiary or the assignee of the Mortgage.

       15.       The Creditor requests the Court also modify the stay for the Creditor to contact

and speak with the Debtor about surrender of the property and loss mitigation options, should

relief be granted.

       WHEREFORE, Creditor requests the Court enter an Order (1) granting relief from the

automatic stay in rem to permit Creditor to take possession of the subject collateral, (2) waiving
             Case 6:18-bk-02139-KSJ           Doc 9     Filed 05/23/18     Page 5 of 5




the 14 day stay period under Rule 4001(a)(3) so as to permit the Creditor to immediately enforce

the relief requested herein, (3) allowing the movant to exercise its contractual, state and common

law remedies relating to the collateral, including authorization to give all notices and take such

action as necessary to protect its rights to file or amend its claim to assert any deficiency

remaining on the sale of the collateral, and (4) for such other and further relief as is just and

proper.

                                       /s/DAVID E. HICKS, ESQ.
                                       DAVID E. HICKS, ESQ.
                                       Fla. Bar No. 0368245
                                       KELLEY KRONENBERG ATTORNEYS AT LAW
                                       1511 N. Westshore Blvd., Suite 400
                                       Tampa, FL 33607
                                       (813) 223-1697
                                       (813) 433-5275 (fax)
                                       E-mail: dhicks@kelleykronenberg.com
                                       Attorneys for MTGLQ INVESTORS, L.P.

                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a copy of the foregoing Motion for Relief from Stay with
   all attachments has been furnished either by electronic or standard first class mail to the
   parties listed below on this 23rd day of May, 2018.


                                                   /s/DAVID E. HICKS, ESQ.

   Kent William Rechner and Leslie Clare Rechner
   7603 Glenmoor Lane
   Winter Park, FL 32792

   Walter F. Benenati, Esq.
   2702 E. Robinson St.
   Orlando, FL 32803

   Marie Henkel, Trustee
   3560 S. Magnolia Ave.
   Orlando, FL 32806
